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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NEXSTAR MEDIA INC.,

                 Plaintiff and
                 Counterclaim Defendant,
                                           1:21-cv-06860-JGK
        - v. -

COMCAST CABLE COMMUNICATIONS,
LLC,

                 Defendant and
                 Counterclaimant.




 PLAINTIFF AND COUNTERCLAIM DEFENDANT NEXSTAR MEDIA INC.’S
   RULE 72 OBJECTIONS TO THE OCTOBER 6, 2022 ORDER GRANTING
    DEFENDANT AND COUNTERCLAIM PLAINTIFF COMCAST CABLE
           COMMUNICATIONS, LLC’S MOTION TO COMPEL


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       Pursuant to Federal Rule of Civil Procedure 72(a), Plaintiff and Counterclaim Defendant

Nexstar Media Inc. objects to the Magistrate Judge’s October 6, 2022 order granting Defendant

and Counterclaim Plaintiff Comcast Cable Communications, LLC’s motion to compel

(“Discovery Order”) and states as follows:

                                PRELIMINARY STATEMENT

       This “straightforward” contract dispute concerns whether Comcast’s failure to pay Nexstar

retransmission fees for the television station WPIX violates the parties’ agreement. Order Denying

Comcast’s Motion to Dismiss or Stay, May 2, 2022 Hr’g Tr., at 18:20 (“District Court Order”).

On May 2, 2022, the Court held that this dispute turns on the “discrete factual issue” of whether

Nexstar owns a television station in WPIX’s market. Id. at 20:12-16. The Court further held that

broader issues of whether Nexstar “owns” WPIX under various FCC rules and whether Nexstar’s

relationship to WPIX violates the FCC national ownership cap “have no bearing” on this dispute.

Id. 19:17-19; see also id. 18:23-19:3 (“The answer to that question [of whether Comcast breached

the contract] does not turn on the ownership rules[.]”); 19:11-15 (“The question whether Nexstar

owns WPIX in violation of the ownership cap has no bearing on whether Nexstar is ‘prohibited

from negotiat[ing] . . . retransmission consent on behalf of’ WPIX under the FCC’s rules.”); 21:2-

6 (FCC ownership issue “bears no relation to the contract dispute in this case, and the Court will

therefore have no reason to resolve it”).

       Comcast has disregarded the Court’s ruling by seeking extensive discovery regarding

issues relating to FCC “ownership” rules—specifically, broad discovery regarding Nexstar’s

general relationship with WPIX and WPIX’s owner, Mission Broadcasting, Inc. (“Mission”) in

order to establish whether Nexstar effectively “owns” WPIX. The Court has already determined

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that these issues are irrelevant to this lawsuit, and the Magistrate Judge incorrectly permitted

discovery into these very topics in his Discovery Order.

       The Magistrate Judge’s Discovery Order was clearly erroneous or contrary to law, and so

should be set aside. First, the Discovery Order’s finding that the disputed discovery is relevant to

Comcast’s affirmative defenses is inconsistent with the Court’s clear and repeated holding in the

May 2022 District Court Order. The Magistrate Judge found that the disputed discovery is relevant

to Comcast’s contract defense that Nexstar improperly “owns” WPIX under FCC rules. See

Declaration of Kevin Hoogstraten (“Hoogstraten Decl.”) Ex. 1, Oct. 6, 2022 Hr’g Tr., at 5-6, 8-

10; ECF 154 at 1. The Court, however, has already held that the question of FCC ownership has

no bearing on the contract dispute here.

       Second, the Discovery Order’s finding that the disputed discovery is relevant to Comcast’s

counterclaim, ECF 154 at 1, relies on the mistaken premise that Nexstar’s purported intent to

control WPIX or Mission is relevant to a tortious interference with contract claim, see Hoogstraten

Decl., Ex. 1, Oct. 6, 2022 Hr’g Tr., at 12-15. In fact, the intent element of a tortious interference

claim requires specific intent to induce a breach, and is not satisfied by a general intent to control

a third party. Comcast’s requested discovery into Nexstar’s purported control over WPIX or

Mission is therefore not probative of this, or any other, element of its counterclaim. Moreover,

Comcast’s counterclaim is the subject of a pending motion to dismiss, which was fully briefed as

of August 12, 2022. See ECF No. 92. Nexstar should not be compelled to produce burdensome

discovery purportedly relevant to that counterclaim unless the Court determines that the

counterclaim is viable.



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                                         BACKGROUND 1

         Nexstar is a television company that enters into agreements with distributors to carry

television programming in exchange for fees. This dispute involves a retransmission consent

agreement between Nexstar and Comcast that governs Comcast’s carriage of certain television

stations (“Comcast-Nexstar Agreement”). The Comcast-Nexstar Agreement sets forth the fees

that Comcast must pay for retransmitting the broadcast signal of those stations. The agreement

further states that if, during its term, (1) Nexstar “becomes the licensee, programmer, and/or bona

fide manager of (or otherwise obtains an ownership interest in or enters into a contract to provide

certain services, including but not limited to shared services, local marketing and/or joint sales

agreement(s), with)” a third-party station; and (2) Nexstar “is not prohibited from negotiating

retransmission consent on behalf of such station under FCC’s Rules,” then the third-party station

becomes governed by the Agreement. See ECF No. 93-2, Comcast-Nexstar Agreement, at § 6(c).

Nexstar’s lawsuit consists of one breach of contract cause of action for nonpayment of fees due

under the agreement for retransmission of third-party station WPIX.

         Comcast initially responded to Nexstar’s lawsuit by moving to dismiss or stay the case

under the primary jurisdiction doctrine.      See ECF No. 19.      Comcast’s motion argued that

interpretation of the Comcast-Nexstar Agreement’s “Additional Stations” provision required a




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    The general factual background of the case has been set forth extensively elsewhere, including

in ECF Nos. 26, 92, and 149, and Nexstar sets forth herein only the facts relevant to the instant

dispute.


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determination of whether FCC ownership rules “prohibited [Nexstar] from negotiating

retransmission consent on behalf of” WPIX. See id. at 8-9. On May 2, 2022, the Court denied

Comcast’s motion, holding that the only “FCC Rules” pertinent to the Additional Stations

provision are the FCC’s negotiation rules, and that the FCC ownership rules “have no bearing” on

that inquiry. See supra at 1.

        Comcast has propounded 28 requests for production (“RFPs”) in this action to date, and

Nexstar has produced documents in response to many of those RFPs. Comcast moved to compel

the production of additional documents in response to 11 RFPs:

   •    RFP No. 2 seeks documents “sufficient to show Nexstar’s involvement with WPIX[.]”

        Nexstar has already agreed to produce documents sufficient to show that Nexstar

        “enter[ed] into a . . . local marketing and/or joint sales agreement” with respect to WPIX

        and is “not prohibited from negotiating for retransmission consent on behalf of [WPIX]

        under FCC’s Rules”—i.e., the only “involvement” that is relevant to the contract claim

        here.

   •    RFP No. 4 seeks “[a]ll documents and communications concerning Comcast’s carriage

        of WPIX.” Nexstar has already agreed to produce a copy of the Comcast-Nexstar

        Agreement, which governs “Comcast’s carriage of WPIX.”

   •    RFP Nos. 3, 7, and 15-21 seek a range of documents concerning Nexstar’s general

        relationships with Mission and WPIX, including documents concerning “Mission’s

        involvement with WPIX” (RFP No. 3); the FCC’s national ownership cap (RFP No. 17),

        and Nexstar’s “involvement in Mission’s decision-making, policies, personnel, finances,

        and revenues” (RFP No. 18).

        With respect to RFP Nos. 2 and 4, Comcast argued that the RFPs are relevant to

Comcast’s affirmative defense that “FCC ownership restrictions preclude Nexstar from adding
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WPIX to the Comcast-Nexstar Agreement” because they relate to Nexstar’s alleged control over

WPIX and “long-running scheme” to circumvent FCC regulations, and to Comcast’s

counterclaim for tortious interference because they relate to Nexstar’s purported general intent to

“control” third-party Mission Broadcasting, Inc. See ECF No. 138 at 2-3. With respect to the

remaining RFPs, Comcast argued that the RFPs “seek information relevant to Nexstar’s

relationship with, and financial and operational control of, Mission [and/or] WPIX,” which it

claimed relates to “critical” issues such as the aforementioned “long-running scheme” and

Nexstar’s ability and motivation to procure a breach. See id. at 3.

       On October 6, the Magistrate Judge granted Comcast’s motion to compel, finding that the

disputed discovery requests seek documents relevant to Comcast’s defenses and counterclaim.

See ECF No. 154.

                                     LEGAL STANDARD

       The district court “must consider timely objections [to nondispositive pretrial matters] and

modify or set aside any part of the order that is clearly erroneous or is contrary to law.” Fed. R.

Civ. P. 72(a). “An order is ‘clearly erroneous’ when ‘the reviewing court on the entire evidence

is left with the definite and firm conviction that a mistake has been committed.’” Collens v. City

of New York, 222 F.R.D. 249, 251 (S.D.N.Y. 2004) (Koeltl, J.). A judge is “justified” in finding

clear error where he experiences such conviction even if “there is evidence to support” the

magistrate judge’s ruling. Highland Cap. Mgmt., L.P. v. Schneider, 551 F. Supp. 2d 173, 177

(S.D.N.Y. 2008). An order is “contrary to law” when it “fails to apply or misapplies relevant

statutes, case law or rules of procedure.” Collens, 222 F.R.D. at 251.




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                                         ARGUMENT

I.     The Discovery Order is Clearly Erroneous and Contrary to Law.

       While a court has “broad latitude to determine the scope of discovery,” Republic of Turkey

v. Christie’s, Inc., 326 F.R.D. 394, 399 (S.D.N.Y. 2018) (quoting EM Ltd. v. Republic of

Argentina, 695 F.3d 201, 207 (2d Cir. 2012)), that leeway is necessarily bounded by Federal Rule

of Civil Procedure 26, including its prohibitions on overbroad and burdensome discovery. The

Discovery Order is clearly erroneous and contrary to law because it subjects Nexstar to overbroad

discovery that is of no relevance to any legal questions currently before the Court. See, e.g.,

Collens, 222 F.R.D. at 251.

       A.     Comcast’s RFPs Are Not Relevant to Its Affirmative Defenses.

       The Discovery Order erroneously found that the disputed discovery is relevant to

Comcast’s affirmative “FCC ownership” defense. See ECF 154 at 1; Hoogstraten Decl., Ex. 1,

Oct. 6, 2022 Hr’g Tr., at 5-6, 8-10. In Comcast’s words, “one of Comcast’s primary contract

defenses” is “that FCC ownership restrictions preclude Nexstar from adding WPIX to the

Comcast-Nexstar Agreement.” ECF No. 138 at 3.

       The District Court, however, has already considered and rejected Comcast’s contention

that FCC ownership rules bear on this contract dispute. See District Court Order at 17:22-25

(“[A]ccording to Comcast, Nexstar’s claim hinges on the FCC’s resolution of the question whether

Nexstar ‘owns’ WPIX and thereby violates the ownership cap.”). The Court definitively held that

“the question whether Nexstar ‘owns’ WPIX, in violation of the ownership cap, has no bearing on

whether Comcast has violated the retransmission agreement in connection with WPIX.” Id. at

18:13-16. Comcast’s “ownership” defense is therefore irrelevant, as “the Court need not in this

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case make a finding as to whether Nexstar ‘owns’ WPIX in violation of the ownership cap.” Id.

at 18:16-18.

       To dispel any doubt, the Court repeatedly confirmed in its order denying Comcast’s motion

to dismiss or stay pursuant to the primary jurisdiction motion that Nexstar’s claim (and thus

Comcast’s defenses) implicates only the FCC negotiation rules, and those rules have nothing to

do with station “ownership”:

   •   “The answer to that question [of whether Comcast breached the contract] does not turn on

       the ownership rules, but rather the negotiations rules, which prohibit the coordination of

       negotiations between two stations if the stations exist in the same market unless such

       stations are under common control. See 47 CFR 76.65(b)(1)(viii).” District Court Order

       at 18:23-19:3.

   •   “[I]t does not follow from a finding that Nexstar violates the ownership cap, if any such

       finding is ever made, that Nexstar is thereby ‘prohibited from negotiating for

       retransmission consent on behalf of WPIX under FCC's rules.’” Id. 18:1-4.

   •   “[T]he question whether Nexstar ‘owns’ WPIX, in violation of the ownership cap, has no

       bearing on whether Comcast has violated the retransmission agreement in connection with

       WPIX, and the Court need not in this case make a finding as to whether Nexstar ‘owns’

       WPIX in violation of the ownership cap.” Id. 18:13-18.

   •   “The question whether Nexstar owns WPIX in violation of the ownership cap has no

       bearing on whether Nexstar is ‘prohibited from negotiating retransmission consent on

       behalf of’ WPIX under the FCC’s rules.” Id. 19:11-15.



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   •       “[T]he FCC’s rules governing ownership of commercial broadcast stations . . . have no

           bearing on the contract dispute in this case.” Id. 19:17-19.

   •       “[The ownership issue] bears no relation to the contract dispute in this case, and the

           Court will therefore have no reason to resolve it.” Id. 21:4-6.

The Court’s May 2022 order simply cannot be squared with the Discovery Order’s finding that

Comcast may seek discovery on ownership issues.

       The Discovery Order erroneously disregarded the District Court Order on the basis that the

question of whether FCC ownership issues are relevant to this contract dispute has not been “fully

briefed” or determined by the Court. See Hoogstraten Decl., Ex. 1, Oct. 6, 2022 Hr’g Tr., at 23.

That is incorrect: the parties fully briefed the question of whether or not FCC ownership issues

bear on this contract dispute, and after full briefing and argument, the Court decided that those

issues are irrelevant to Nexstar’s contract claim. See, e.g., District Court Order at 18:1-5 (noting

that Comcast failed to cite any case, statute, or regulation to support its contention that an

ownership cap violation would prohibit Nexstar from negotiating retransmission consent on behalf

of WPIX). And in any event, the District Court’s colloquy with Comcast’s counsel during oral

argument—on which the Magistrate Judge relied in finding that issues of FCC ownership might

still be relevant to the case—was not part of the District Court Order that was read into the record

after oral argument concluded. See id. at 6:1-2, 12, 17-20 (statements relied on by Magistrate

Judge made ten transcript pages prior to the Court stating it was “prepared to decide” and reading

formal order). The Court’s holdings outweigh any colloquy with counsel, and a stray statement

during oral argument is not a sound basis for contravening a clear order.

       Nexstar should therefore not be compelled to produce documents in response to the

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disputed RFPs, which seek irrelevant discovery relating to FCC ownership rules and restrictions.

For example, RFP No. 17 seeks “[a]ll documents and communications concerning the National

Ownership Cap as it relates to WPIX,” despite the Court’s holding that the issue of “whether

Nexstar’s relationship to WPIX constitutes ownership and therefore violates the ownership

cap . . . bears no relation to the contract dispute in this case.” District Court Order at 21:2-5.

Comcast’s other disputed requests target documents concerning Nexstar’s overall relationship with

WPIX and Mission, on the basis that those relationships must be analyzed to determine whether

they comply with FCC ownership rules. See, e.g., RFP Nos. 2 (documents sufficient to show,

among other things, “Nexstar’s involvement in WPIX’s programming, policies, personnel,

finances, and revenues”); 3 (documents concerning Nexstar’s prior representations to the FCC);

18 (documents sufficient to show “Nexstar’s relationship to Mission as its variable interest

entity”). As discussed above, these ownership issues play no part in the analysis of Nexstar’s

claim. Accordingly, the disputed discovery is irrelevant, and compelling its production would be

inconsistent with the District Court Order. The Court should sustain Nexstar’s objection on that

ground.

       B.      Comcast’s RFPs Are Not Relevant to Its Tortious Interference Counterclaim

       The disputed discovery requests also have no bearing on Comcast’s counterclaim for

tortious interference with contract. Comcast argues that discovery related to Nexstar’s purported

“intent and ability to control WPIX” or Mission is relevant to “its Counterclaim,” writ large. ECF

No. 138 at 3. However, the discovery sought by the RFPs has no bearing on any of the elements

of tortious interference and is therefore inappropriate. See, e.g., Taylor v. Metro. Transp. Auth.,

2019 WL 2766502, at *3 (S.D.N.Y. July 2, 2019) (“Without a showing of relevancy, the Court

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will not compel production of documents.”).

       “Under New York law, the elements of tortious interference with contract are (1) the

existence of a valid contract between the plaintiff and a third party; (2) the defendant’s knowledge

of the contract; (3) the defendant’s intentional procurement of the third-party’s breach of the

contract without justification; (4) actual breach of the contract; and (5) damages resulting

therefrom.” Kirch v. Liberty Media Corp., 449 F.3d 388, 401-02 (2d Cir. 2006) (internal quotation

marks and citation omitted). With respect to the third element, Comcast must prove that Nexstar

“specifically intended to interfere with the relevant contract.” Wellington Shields & Co. LLC v.

Breakwater Inv. Mgmt. LLC, 2016 WL 5414979, at *5 (S.D.N.Y. Mar. 18, 2016)).

       The disputed discovery seeks a broad swath of information relating to Nexstar’s purported

general “‘intent and ability’ to control WPIX through Mission” and alleged “financial motivation

and practical opportunity [to secure] Mission’s [purported] breaches.” ECF No. 153 at 3. For

instance, Comcast’s RFP No. 3 demands documents related to “Mission’s involvement with

WPIX,” while RFP No. 18 seeks documents touching on Nexstar’s “involvement in Mission’s

decision-making, policies, personnel, finances, and revenues.”         Such demands do not seek

discovery relevant to the question of whether Nexstar specifically intended to induce Mission’s

alleged breach, which is the only intent that is relevant to the tortious interference counterclaim.

See, e.g., Restatement (Second) of Torts § 766 cmt. j (noting that tortious interference requires that

the defendant either “acts for the primary purpose of interfering with the performance of the

contract,” or that it “desires to interfere, even though [it] acts for some other purpose in addition”

(emphasis added)); Alaska Elec. Pension Fund v. Bank of Am. Corp., 175 F. Supp. 3d 44, 65

(S.D.N.Y. 2016) (tortious interference with contract requires “specific intent to injure a known

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contractual relationship with another”); Enzo Biochem, Inc. v. Molecular Probes, Inc., 2013 WL

6987615, at *4 (S.D.N.Y. Dec. 6, 2013) (“Put simply, a defendant must have specific intent to

interfere with the relevant contract” for a claim of tortious interference to lie.) (emphasis added).

         At oral argument, the Magistrate Judge suggested that a finder of fact could “infer” the

requisite specific intent from Nexstar’s alleged general control over WPIX and Mission that

Comcast’s requests inquire into. See Hoogstraten Decl., Ex. 1, Oct. 6, 2022 Hr’g Tr., at 12-15.

Any such inference, however, would be contrary to clear authority that a defendant’s alleged

schemes to control another entity are, broadly speaking, irrelevant to claims of tortious

interference. In Wellington Shields v. Breakwater Investment Management, for example, the court

held that the defendants’ attempt to “gain further control” over the breaching third party was

irrelevant to the issue of intentional procurement for purposes of a tortious interference claim.

2016 WL 5414979, at *5. “[W]hile it may be true that [the Defendants’] subsequent loans allowed

[them] to gain additional control over [the third party], that fact is irrelevant to the issue of whether

Defendants intentionally sought to procure a breach of Plaintiff’s contract with [the third party].”

Id. (emphases added). Thus, whether Nexstar exercised general “control” over Mission or WPIX

has no bearing on whether Nexstar had the specific, malicious intent to interfere with the purported

contractual relationship between Mission and Comcast, and the Discovery Order erroneously

adopted this rationale in granting the motion to compel. 2 And Nexstar has already agreed to



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    Comcast also attempted to justify the disputed discovery by suggesting that the documents

sought might be relevant “if Nexstar were to pursue an ‘economic interest defense.’” ECF No.



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produce non-privileged documents, if any, that do bear on specific intent because they relate to the

communications that form the basis of Comcast’s tortious interference claim.

       Finally, to the extent the Court overrules Nexstar’s objections on the ground that the

disputed discovery is relevant to the tortious interference counterclaim, Nexstar intends to seek a

motion staying such discovery until Nexstar’s pending motion to dismiss the counterclaim is

decided. Nexstar’s motion “is potentially dispositive” and legally sound. Gandler v. Nazarov,

1994 WL 702004, at *4 (S.D.N.Y. Dec. 14, 1994) (staying discovery when pending motion to

dismiss “appear[ed] to be not unfounded in the law”). Since “responding to discovery in this action

is likely to be burdensome” to Nexstar, and Comcast would not be unfairly prejudiced by a “brief”

delay in the production of the disputed documents while the Court considers Nexstar’s motion to

dismiss, Nexstar should not be required to commence the burdensome process of locating and

reviewing potentially responsive documents. Magee v. Walt Disney Co., 2020 WL 8815489, at *1

(S.D.N.Y. June 10, 2020).

                                         CONCLUSION

       For the foregoing reasons, Nexstar respectfully requests that the Court sustain Nexstar’s




153 at 3 (emphasis added). Such bald conjecture cannot support the burdensome discovery

requests at issue here. “While Rule 26(b)(1) still provides for broad discovery, courts should not

grant discovery requests based on pure speculation that amount to nothing more than a ‘fishing

expedition’ into actions or past wrongdoing not related to the alleged claims or defenses.”

Collens, 222 F.R.D. at 253 (citations omitted).


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objections to the Discovery Order on the grounds that the discovery sought by Comcast is not

relevant to (1) Nexstar’s breach of contract claim or Comcast’s defenses thereto; and (2) Comcast’s

tortious interference counterclaim. Nexstar respectfully requests that the Court rule as to each of

the two grounds for Nexstar’s objections.



DATED: Los Angeles, California                           Respectfully submitted,
       October 20, 2022
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                             CERTIFICATE OF COMPLIANCE

        The undersigned hereby certifies that this memorandum of law complies with Section
II.D. of the Court’s Individual Practices dated July 6, 2022. This memorandum of law contains
3,386 words exclusive of the cover page, certification of compliance, table of contents, and table
of authorities, and is consistent with the formatting requirements set forth in Section II.D.


DATED: Los Angeles, California                          Respectfully submitted,
       October 20, 2022
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